Case 3:06-cv-00543-LC-MD Document 48 Filed 04/28/08 Page 1 of 11

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

vs. - CASE NO.: 3:06cv543/LAC/MD

WARD DEAN, -
Defendant.

 

MOTION FOR LEAVE TO PROCEED ON APPEAL IN FORMA PAUPERIS
Ward Dean, Defendant Pro Se in the above-captioned case,
moves this honorable court to allow him to proceed In Forma
Pauperis pursuant to 28 U.S.C. § 1915, and Federal Rule
of Appellate Procedure (FRAP) 24 (a) (1). A financial affidavit

as required by FRAP 24(a)(1)(A) is attached.

Defendant/Appellant claims he is entitled to redress (FRAP
24(a)(1)(B) based on the following issues that he intends
to present on appeal (FRAP 24(a)(1)(C) :

1. Whether the FCC unjustifiably initiated its enforcement
process in the absence of the required complaint from a
viewer or listener.

2. Whether the Plaintiff's complaint is void for vagueness
due to constantly changing what statute/regulation Defendant/

Appellant allegedly violated.

 
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3. Whether the FCC license application is a "rule"
for Administrative Procedure Act (APA) purposes, and is therefore
void for not being formally and properly promulgated.

4. Whether FCC regulations regarding radio station
licenses are invalid due to the absence of required OMB numbers.

5. Whether 47 U.S.C. § 301 is unconstitutional.

6. Whether District Court was required to explain its
findings of fact and conclusions of law sufficient to provide
the appellate court with an opportunity to engage in meaningful
appellate review.

7. Whether District Court's ruling against Defendant/Appellant
is justified in the complete absence of any evidence to substantiate
the allegations by the government or the findings of this Court.

8. Whether the amount of the forfeiture penalty imposed
was reasonable and in accordance with the Defendant's ability
to pay, pursuant to 47 U.S.C. § 503 (b)(2)(D).

Respectfully submitted,

( al) or

Ward Dean

Defendant/Appellant Pro Se
06076-017

Federal Prison Camp

110 Raby Avenue

Pensacola, Florida 32509-5127

CERTIFICATE OF SERVICE

 

-¢ 24%
On this —day of April, 2008, a copy of the foregoing
was mailed to Paul Alan Sprowls, AUSA, 111 North Adams Street,
4th Floor, Tallahassee, Florida 32301.

Coda

Ward Dean
06076-017
 

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Form 4. _ Affidavit Accompanying Motion for
Permission to Appeal In Forma Pauperis

- United States District Court for the | Northern _ pisttict of _Florida

UNITED STATES OF AMERICA,

Plaintiff
v. Case No. 3: 06cv543/LAC/ MD
WARD DEAN .

Defendant

 

Instructions: Complete all questions in this application and then sign it. Do not leave any blanks: if the answer to a question is
“0,”, “none,” or “not applicable (N/A),” write in that response. If you need more space to answer a question or to explain your
answer, attach a separate sheet of paper identified with your name, your case’s docket number, and the question number.

 

 

Affidavit in Support of Motion

I swear or affirm under penalty of perjury that, becausé of my poverty, I cannot prepay the docket fees of my appeal or post
a bond for them. I believe I am entitled to redress. I swear or affirm under penalty of perjury under United States laws that
my answers on this form are true and correct. (28 U.S.C. § 1746; 18 U.S.C. §-1621.)

 

 

Date: aa Ape A908 Signed:

 

 

My issues on appeal are:

1. -For both you and your spouse, estimate the average amount of money received from each of the following sources during
the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly, semiannually, or annually to show
the monthly rate. Use gross amounts, that is, amounts before any deductions for taxes or otherwise.

 

 

 

 

 

 

 

 

 

 

Income Source Average monthly amount Amount expected next
during the past 12 months month
You _ Spouse You Spouse

Employment $17.50 $s N/A $17.50 $_N/A
Self-employment : $_0 g N/A 5 0 3 N/A
Income from real property $9 - $NA $_O $_N/A
(such as rental income) .
Interests and dividends —  $_0 $_N/A $_0 $_N/A*
Gifts $100.00 $ N/A $2 s_N/A
Alimony 3 _0 g N/A 5 0 3 N/A
Child support $_0 $N/A = 8_-O0 $_N/A
Retirement (such as Social Security, pensions, annuities, $ 0 $ N/A $_ 0 $ N/A
insurance)
Disability (such as Social Security, insurance payments) § 0 s N/A $_0 $ N/A
Unemployment payments $ 0 g N/A $ 0. $ N/A
Public-assistance (such as welfare) $ O-| $ N/A $_0 $ N/A
Other (specify): ¢ 0 g N/A $0 g N/A

Total monthly income: $117.50 SN/A $47.50 S_NYA

Form 4

     
CE ase.3:06-cv:00543-LC-MD Document 48 Filed 04/28/08 Page.4 of 11

¥

2. List your employment history, most recent employer first. (Gross monthly pay is before taxes or other deductions.)

Employer Address , Dates of Employment Gross Monthly Pay

Bureau of Prisons . 110 Raby Avenue 14 Sept, 2006 _$17.50/mo
: Pensacola, Florida to present

 

 

 

 

 

 

3. List your spouse’s employment history, most,recent employer first. (Gross monthly pay is before taxes or other
deductions.) ,

 

N/A

 

 

_ 4. How much cash do you and your spouse have? $ 165.76 __

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

 

 

Financial Institution Type of Account Amount you have. ‘Amount your spouse has
N/A _ N/A $_0 s__N/A
5 5
$ $

If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must attach a statement certified
by the appropriate institutional officer showing all receipts, expenditures, and balances during the last six months in
your institutional accounts. If you have multiple accounts, perhaps because you have been in multiple institutions,
attach one certified statement of each account.

J. List the assets, and their values, which you own or your spouse owns. Do-not list clothing and ordinary household

 

 

 

 

 

* furnishings.
Home (Value) © Other Real Estate (Value) Motor Vehicle #1 (Value)
N/A oe _ N/A _. Make & Year: N/A
Model:
\ : . Registration #:
Other Assets(Value) Other Assets (Value) Motor Vehicle #2 (Value)

 

: Make & Year: N L A
A [A . N JA Model: .

Registration #:

 

 

 

6. State every person, business, or organization owing you or your spouse money, and the amount owed.

Person owing you or your
spouse money. Aniount owed to you Amount owed to your spouse

N/A LNA N/A

 

 

 

Form 4

Ne
Case 3:06-cv-00543-LC-MD Document 48

 

 

7. State the persons who rely on your or your spouse for support.
Name Relationship
Paul Dean - Son
san

_Kenton Dean

 

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8.

Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your spouse. Adjust

any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate.

For home-mortgage payment (include lot rented for mobile home)
Are real-estate taxes included? O Yes ONo
Is property insurance included? o Yes ONo
Utilities (electricity, heating fuel, water, sewer, and telephone)
Home maintenance (repairs and upkeep)
Food
Clothing
Laundry and dry-cleaning
Medical and dental expenses
Transportation (not including motor vehicle payments)
Recreation, entertainment, newspapers, magazines, etc.
Insurance (not deducted from wages or included in mortgage payments)
Homeowner’s or renter’s
Life
Health
Motor Vehicle

Other:

 

Taxes (not deducted from wages or included in
mortgage payments) (specify):

 

Installment payments
Motor Vehicle

Credit card (name):

 

- Department store (name):

 

Other:

 

Alimony, maintenance, and support paid to others 1

Regular expenses for operation of business, profession, or farm (attach detailed
statement)

Other (specify):

 

Total monthly expenses

 

Ff FA F Fi F F FA FH

FF Ff F FF FF F HB
G2 lo lololo lo lolo lo Jolo

You

Oo

 

$
" $
$

Your Spouse
$_ N/A
$_N/A
$_-N/A
$ N/A
$_N/A

$_ N/A
$_ N/A

g N/A
5 N/A
$ N/A
g N/A
5 N/A
$_N/A
gs N/A
@ N/A
N/A
N/A
N/A

$

$_N/A.
$ N/A
$ N/A
§ N/A

$ N/A
g N/A
$ N/A
$ N/A
SNA

Form 4
10.

Il.

12.

13.

a Yes No If yes, how much? $

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Do you expect any major changes io your monthly income or expenses or in your assets or liabilities during the next 12
months?
Oo Yes KNo -. If yes, describe on an attached sheet. . , x,

Have you paid — or will you be paying - an attorney any money for services in connection with this case, including the
completion of this form?

OYes KNo If yes, how much: $

If yes, state the attorney’s name, address, and telephone number:

 

 

 

‘Have you paid — or will you be paying — anyone other than an aitorney (such as a paralegal or a typist) any money for

services in connection with this case, including the completion of this form?

 

If yes, state the person’s name, address, and telephone number:

 

 

 

Provide any other information thai will help explain why you cannot pay the docket fees for your appeal.

State the address of your legal residence.

Federal Prison Camp, Pensacola
110 Raby Avenue

 

 

Pensacola Pilorida 37500.5197 _
rnoeer Sey Fe ee a ht ae NP what
Your daytime phone number: ( )
Your age: _ 65 Your years of schooling: 22+

(As amended Apr. 24, 1998, eff. Dec. 1, 1998.)

Your Social Security number: XXX-XX-XXXX

Form 4

   
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, Page i of 2

 

Inmate Inquir y

 

inmate Reg #: 060760) \7 Current Institution: Pensacola FPC
Inmate Name: “DEAN, WARD. / Housing Unit: , PEN-C-A
Report Date: 04/07/2008 , : Living Quarters: C03-092U
Report Time: 12:13:29 PM
Gerteral Information . |  AccountBalances | Commissary History + Commissary Restrictions { Comments

General Information

Administrative Hold Indicator: No

No Power of Attorney: No

Never Waive NSF Fee: No

Max Allowed Deduction %: 100

PIN: 8495
— PAC#: 010010362
FRP Participation Status: Participating
Arrived From: MON
Transferred To:
Account Creation Date: 3/20/2006. : , -
Local Account Activation Date: 12/20/2006 3:25:12 AM

 

Sort Codes: J...!
Last Account Update: 3/19/2008 12:11:46 AM

Account Status: Active
Phone Balance: $15.17

FRP Plan Information

 

FRP Plan Type Expected Amount Expected Rate
Quarterly . $25.00 0%

 

‘Account Balances

Account Balance:. - $165.76 N i+ bone . 4
‘Pre-Release Balance: $0.00 —th cendd
Debt Encumbrance: $0.00.

SPO Encumbrance: $0.00 OAL OLCLLEN cncte ond thu

: Other Encumbrances: $0.00°
Outstanding Negotiable Instruments: $0.00 Uy Gee et. uy
‘Administrative Hold Balance: $0.00 © ’ “| . 20

‘Available Balance: $165.76

National 6 Months Deposits: $656.69 ,
National 6 Months Withdrawals: $530.75 \\ fo
National 6 Months Avg Daily Balance: $130.15 . | ~ , , 0 Cc caunk
Local Max. Balance - Prev. 30 Days: $190.76 :

Average Balance - Prev. 30 Days: $166.18 Fp \
’ LAAGL

http://tfsqlpen/UMR/InmateInquiryCombined.aspx co . 4/7/2008

 

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age 2 of 2

 

Commissary History

Purchases

 

Validation Period Purchases: $0.00 ’ . °
YTD Purchases: $574.00
Last Sales Date: 2/28/2008 5:21:12 PM

SPO Information

 

SPO's this Month: 0
SPO $ this Quarter: $0:00

Spending Limit Info

Spending Limit Override: No
Weekly Revalidation: No
Bi-Weekly Revalidation: No
/ Spending Limit: $290.00
i Expended Spending Limit: $0.00
. Remaining Spending Limit: $290.00

 

Commissary Restrictions

Spending Limit Restrictions

 

Restricted Spending Limit: $0.00
Restricted Expended Amount: $0.00

Restricted Remaining Spending Limit:
Restriction Start Date:
Restriction End Date:

Item Restrictions

 

$0.00
N/A
N/A

List Name List Type Start Date End Date

Active

 

Comments

Comments:

 

http://tfsqlpen/UMR/InmatelnquiryCombined.aspx

4/7/2008
Inmate Reg a:
Inmate Name:
Report Date:
Report Time:

uy

Date/Time

3/10/2008 10:49:39 AM
3/10/2008 10:07:02 AM
3/10/2008 10:06:47 AM
3/1/2008 5:03:11 AM
2/28/2008 5:21:12 PM
2/25/2008 11:53:12 AM
2/14/2008 5:17:14 PM
2/11/2008 5:14:53 PM
2/9/2008 5:26:30 AM
2/8/2008 10:22:41 AM
1/21/2008 5:13:38 AM
1/10/2008 5:23:25 PM
1/7/2008 10:23:40 AM
12/14/2007 9:34:45 AM
12/10/2007 4:39:17 PM

12/7/2007 10:51:37 AM |

12/7/2007 10:37:58 AM
11/27/2007 5:37:03 PM
11/26/2007 4:32:08 PM
11/20/2007 5:35:25 PM
11/9/2007 8:32:03. AM
11/7/2007 5:14:23 AM
11/7/2007 5:14:17 AM
11/6/2007 5:39:00 PM
10/23/2007 4:58:09 PM
10/15/2007 5:19:52 PM
10/15/2007 5:18:41 PM

10/13/2007 5:15:50 AM .

10/5/2007 9:14:07 AM
10/2/2007 5:15:23 PM
10/1/2007 5:32:02 PM
9/26/2007 5:10:55 AM
9/14/2007 5:00:37 PM
9/11/2007 5:17:08 AM
9/7/2007 7:51:52 AM
9/7/2007 7:49:53. AM
8/31/2007 5:26:03 AM
8/27/2007 11:37:07 AM
8/10/2007 8:57:22 AM
7/30/2007 6:33:40 PM
7/29/2007 12:30:46 PM
7/26/2007 4:51:02 PM

06076017
DEAN, WARD
04/07/2008
12:13:39 PM

Transaction Type

 

FRP Quarterly Pymt
Payroll - IPP
Payroll - IPP
Lockbox - CD
Sales
Sales
Sales
Lockbox - C
Payroll - IPP
Lockbox -CD
Sales
Payroll - IPP
Lockbox - CD
Sales
FRP Quarterly Pymt
Payroll - IPP
Sales
Sales
Sales
Payroll - IPP
_ Lockbox - CD

Lockbox - CD
Sales
Sales
Sales
Sales

. Lockbox - CD
Payroll - IPP
Sales
Sales
Lockbox - CD
Sales |
Lockbox - CD
FRP Quarterly Pymt
Payroll - IPP
Lockbox - CD
Inmate Co-pay .
Payroll - IPP
Phone Withdrawal
Sales

Deposits

Current Institution:
PEN-C-A
C03-093U -

Housing Unit:

Living Quarters:

Amount Ref#
($25.00) HFRPO308
$5.25 HIPPO208
$7.56 HIPP0208
$100.00 70103001
($56.50) 94
($44.25) 67
($34.25) 48
($42.05) 141
$50.00 70101601
$17.64. HIPP0108
$100.00 70100203
($49.25) 106
$16.80 HIPP1207
$100.00 70197701
($44.10) 117
($25.00). HFRP1207
$16.80 HIPP1107
($15.00) 124
($44.10) 65
($38.20) 137
$17.64 HIPP1007
$100.00 70195201
$25.00 70195201
($26.30) 105
($41.25) 50
$4.00 105
($49.50) 104
- $100.00 70193501
$18.90 HIPP0907
($47.75) 85
($45.50) 165
$25.00 70192301
($46.10) 103
$20.00 70191201
($25.00) GFRP0907
$14.28 GIPP0807
$100.00 70190601
($2.00) GICP0807
$17.64 GIPP0707
($42.15) 160
($20.00) TFN0729
($58.70) 108

http://tfsqlpen/UMR/ViewAllTransCombined.aspx -~

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ViewAllTransCombined

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Pensaco la FPC

Payment#

Balance
$165.76
$190.76
$185.51
$177.95
$77.95
$134.45
$178.70
$212.95
$255.00
$205.00
$187.36
$87.36
$136.61
$119.81
$19.81
$63.91
$88.91
$72.11
$87.11
$131.21
$169.41
$151.77
$51.77
* $26.77
$53.07
$94.32
$90.32
$139.82
$39.82
$20.92
$68.67
$114.17
$89.17
$135.27
$115.27
$140.27
$125.99
$25.99
$27.99
$10.35
$52.50
$72.50

4/7/2008
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"InmateStatementCombined Page 1 of 2

o

. Inmate Statement

inmate Reg #: 06076017. Curreat Institution: Pensacola FPC

 

 

Inmate Name: DEAN, WARD / Housing Unit: . PEN-C-A
Report Date: 04/07/2008 Living Quarters: C03-092U
Report Time: 12:13:55 PM
Alpha © : Transaction Encumbrance |
Code Date/Time Reference# Payment# Receipt# Transaction Type Amount Amount Ending Balance
PEN 3/10/2008 HFRP0308 FRP Quarterly Pymt ($25.00) $165.76
, 10:49:39 AM : . ; . :
PEN 3/10/2008 HIPP0208 Payroll - IPP $5.25 ‘ $190.76 ~
10:07:02 AM
PEN 3/10/2008 HIPP0208 Payroli-IPP _ $7.56 : . $185.51
10:06:47 AM /
PEN 3/1/2008 70103001 Lockbox - CD $100.00 $177.95
7 5:03:11 AM .
PEN 2/28/2008 94 Sales ($56.50) . $77.95
5:21:12 PM i .
PEN 2/25/2008 67 : Sales ($44.25) : $134.45
11:53:12 AM
PEN 2/14/2008 48 Sales ($34.25) $178.70
$:17:14 PM :
PEN 2/11/2008 141 . Sales ($42.05) $212.95
5:14:53 PM -
PEN 2/9/2008 70101601 Lockbox - CD $50.00 $255.00
. 5:26:30 AM”
PEN . 2/8/2008 — HIPPO108 Payroll! - IPP $17.64 . $205.00
10:22:41 AM /
PEN 1/21/2008 70100203 : ‘ Lockbox - CD $100.00 $187.36
$:13:38 AM .
PEN 1/10/2008 =: 1106 Sales ($49.25) $87.36
5:23:25 PM
PEN 1/7/2008 HIPP1207 . Payroll! - IPP $16.80 $136.61
10:23:40 AM ‘ .
PEN 12/14/2007 70197701 : Lockbox - CD oo $100.00 $119.81
/ 9:34:45 AM . :
* PEN 12/10/2007 117 Sales ($44.10) . $19.81
4:39:17 PM .
PEN 12/7/2007 . HFRP1207 FRP Quarterly Pymt ($25.00) mo, $63.91
10:51:37 AM , ,
PEN 12/7/2007 HIPP1107 Payroll - IPP $16.80 $88.91
10:37:58 AM
PEN 11/27/2007 124 : Sales ($15.00) $72.11
5:37:03 PM : .
PEN 11/26/2007 65 Sales ($44.10) : $87.11
: 4:32:08 PM
PEN 11/20/2007 137 : Sales ($38.20) $131.21
, _ 5:35:25 PM . , ‘
PEN 11/9/2007 HIPP1007 Payroll - IPP ~ $17.64 $169.41
8:32:03 AM / , .
PEN 11/7/2007 70195201 oo Lockbox - CD $100.00 - $151.77
, 5:14:23 AM
PEN 11/7/2007 70195201 Lockbox - CD $25.00 $51.77
5:14:17 AM .
PEN 11/6/2007 105 Sales . . ($26.30) $26.77
5:39:00 PM ,
PEN 10/23/2007 50 . Sales : ($41.25) $53.07
, 4:58:09PM_ - : : . :
_PEN 10/15/2007 105 Sales / $4.00 $94,32
§:19:52 PM : .
PEN 10/15/2007 104 : Lc , Sales ($49.50) / $90.32
5:18:41 PM . . : .
PEN 10/13/2007 70193501 : Lockbox-CD  - $100.00 $139.82
, 5:15:50 AM .
PEN 10/5/2007 HIPP0907 Payroll - IPP $18.90 $39.82
9:14:07 AM - . : |
PEN 10/2/2007 85 / Sales ($47.75) - $20.92
5:15:23 PM , : - . -
PEN 10/1/2007 165 . Sales ($45.50) \ $68.67
5:32:02 PM
PEN 9/26/2007 70192301 : Lockbox - CD $25.00 $114.17
$:10:55 AM : ‘
PEN 9/14/2007 103 Sales ($46.10) $89.17
5:00:37 PM :

c

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‘ InmateStatementCombined Page 2 of 2
PEN 9/11/2007 70191201 Lockbox - CD $20.00 $135.27
5:17:08 AM . : Oo
PEN 9/7/2007 GFRP0907 , FRP Quarterly Pymt ($25.00) $115.27
7:51:52 AM ts
PEN — 9/7/2007 GIPP0807 Payroll - IPP $14.28 $140.27
7:49:53 AM .
PEN 8/31/2007 70190601 Lockbox - CD $100.00 $125.99
_ 5:26:03 AM :
PEN = °8/27/2007 GICP0807 Inmate Co-pay ($2.00) $25.99
11:37:07 AM oo
PEN 8/10/2007 GIPP0707 Payroll - IPP $17.64 $27.99
8:57:22 AM / " * / .
PEN 7/30/2007 160 Sales ($42.15) $10.35
6:33:40 PM :
PEN 1/29/2007 TFNO729 Phone Withdrawal ($20.00) $52.50
12:30:46 PM ,
PEN 7126/2007 108 Sales ($58.70) $72.50
4:51:02 PM
1
Total Transactions: 42
Totals: $34.56 $0.00
Current Balances
a, ‘ Sea Account
Available Pre-Release Debt SPO Other Outstanding Administrative
Alpha Code . Balance Balance Encumbrance Encumbrance Encumbrance Instruments Holds Balance
FEN $165.76 $0.00 $0.00 $0.00 $0.00 $0.00 $0.00 $165.76
Totals: $165.76 $0.00 $0.00 $0.00 . $0.00 $0.00 $0.00 $165.76
Other Balances
National 6 Natioanl 6 Local Max Commissary Re Commissary En i
National 6 Months Months Avg Balance-Prey 30 Average Balance Restriction Start
Months Deposits Withdrawals Daily Balance Days - Prev 30 Days Date Date
$656.69 $530.75 $130.15 $190.76 $166.18 N/A NIA
‘ _. -u _ ¢
http://tfsqlpen/UMR/InmateStatementCombined.aspx 4/7/2008
